Case: 19-30232   Doc# 1   Filed: 02/28/19   Entered: 02/28/19 13:57:54   Page 1 of 7
Case: 19-30232   Doc# 1   Filed: 02/28/19   Entered: 02/28/19 13:57:54   Page 2 of 7
Case: 19-30232   Doc# 1   Filed: 02/28/19   Entered: 02/28/19 13:57:54   Page 3 of 7
                          /s/ Stephen D. Finestone                2/28/2019




Case: 19-30232   Doc# 1    Filed: 02/28/19    Entered: 02/28/19 13:57:54   Page 4 of 7
                         ACTION BY UNANIMOUS WRITTEN CONSENT
                             OF THE BOARD OF DIRECTORS OF
                                      MUNCHERY INC.
                                   (a Delaware corporation)


        Pursuant to Section 141(f) of the Delaware General Company Law (the “DGCL”), as amended,
and the Bylaws of Munchery Inc., a Delaware corporation (the “Corporation”), the undersigned, being all
of the members of the Board of Directors of the Corporation (the “Board”), hereby adopt and approve the
following recitals and resolutions by unanimous written consent without a meeting effective as of the date
on which the Corporation receives the last director signature hereto:

Approval of Bankruptcy Filing

        WHEREAS, the Board decided in a meeting on January 20, 2019 that it would
        immediately cease business operations due to the lack of financing;

        WHEREAS, on January 21, 2019 the Corporation ceased business operations and all
        employees of the Corporation were terminated, including James Beriker (“Beriker”), the
        President & CEO;

        WHEREAS, the Corporation is currently insolvent, with its liabilities exceeding its current
        assets;

        WHERAS, the Board has determined that it is in the best interests of the Corporation and
        its creditors to file for protection under the U.S. Bankruptcy laws;

        WHEREAS, the Board has determined that it is in the best interests of the Corporation to
        re-hire Beriker as the Corporation’s President & Chief Executive Officer and appoint
        Beriker as the Corporation’s Chief Restructuring Officer;

        NOW, THEREFORE, BE IT RESOLVED, that the Corporation is authorized to file
        bankruptcy as soon as possible for purposes of protecting its assets and seeking to
        maximize the return to creditors;

        RESOLVED, FURTHER, that the Board hereby approves the re-hiring of James Beriker
        as the President and Chief Executive Officer of the Corporation and Beriker’s appointment
        as the Corporation’s Chief Restructuring Officer and approves the terms and conditions
        of such employment contained in the 2019 Offer Letter authorizes Beriker to take
        all actions necessary to protect and sell the Corporation’s assets and file and
        complete the bankruptcy process;

        RESOLVED, FURTHER, that the Board hereby approves the engagement of the law firm
        of Finestone Hayes LLP as Bankruptcy counsel to the corporation and authorizes
        Finestone Hayes LLP to take all actions necessary to file and complete the
        bankruptcy process;

        RESOLVED, FURTHER, that the Board approves the retention of Armanino LLP to
        provide accounting and related services to the Corporation during the bankruptcy proceeding;




Case: 19-30232        Doc# 1      Filed: 02/28/19      Entered: 02/28/19 13:57:54           Page 5 of 7
Ratification

       RESOLVED, that the undersigned Board members of the Corporation hereby ratify,
       confirm, approve and adopt all actions previously taken by officers of the Corporation that
       are approved by the foregoing resolutions.

Omnibus Resolution

       RESOLVED, that the officers of the Corporation, and each of them acting without the
       others, are hereby authorized and directed to take such further actions, and to execute and
       deliver such further documents as they may deem to be necessary, advisable or appropriate
       to carry into effect the purposes and intent of the foregoing recitals and resolutions.

                                     [SIGNATURE PAGE FOLLOWS]




Case: 19-30232       Doc# 1      Filed: 02/28/19      Entered: 02/28/19 13:57:54           Page 6 of 7
         IN WITNESS WHEREOF, the undersigned directors hereby adopt the foregoing resolutions as of
the date on which the Corporation receives the last signature hereto. This consent may be executed in any
number of counterparts, each of which when so executed and delivered shall be deemed an original, and
such counterparts shall together constitute one and the same instrument. Delivery by facsimile or electronic
mail of an executed signature page hereto shall be effective as delivery of a manually executed counterpart
thereof.




                                                          Monday February 11, 2019
James Beriker
Director




Case: 19-30232         Doc# 1      Filed: 02/28/19      Entered: 02/28/19 13:57:54           Page 7 of 7
